UNITED STATES DISTRICT COURT BqClork, <3 ap,
EASTERN DISTRICT OF TENNESSEE “erp Disp. lst;
AT CHATTANOOGA Atc "ICt of ‘ict
"ty Fenp ure
0095 €ss 3

UNITED STATES OF AMERICA

No. Li2k-€R- /O

)
)
y. )
) sunces Nehivrough fee
)
)

ANDREW CALHOUN, a.k.a.
ANDREW CALHOUNXAYADETH

INDICTMENT
COUNT ONE
The Grand Jury charges that, starting in or about June 2020 and continuing until in or
about July 2020, within the Eastern District of Tennessee and elsewhere, the defendant,
ANDREW CALHOUN, a.k.a. ANDREW CALHOUNXAYADETH, did unlawfully and
knowingly distribute child pornography, and unlawfully and knowingly did cause another person
to distribute child pornography, in or affecting interstate commerce by any means, including by
computer, that is: video files depicting minor and prepubescent children engaging in sexually
explicit conduct including but not limited to adult males engaging in oral and anal sex with
prepubescent, infant, and minor children, and the lascivious exhibition of the genitals and pubic
areas of prepubescent, infant, and minor children.
In violation of Title 18, United States Code, Sections 2252A(a)(2)(A), 2256(8)(A)) and 2.
FORFEITURE ALLEGATIONS
The allegation contained in Count One of this Indictment is hereby realleged and
incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18, United

States Code, Section 2253.

Case 1:21-cr-00010-TRM-SKL Document1 Filed 02/23/21 Pagelof3 PagelD #: 1
Pursuant to Title 18, United States Code, Section 2253, upon conviction of an offense in
violation of Title 18, United States Code, Section 2252A, the defendant shall forfeit to the United
States of America:

a. Any visual depiction described in Title 18, United States Code, sections 2251, 2251A,
or 2252, or any book, magazine, periodical, film, videotape, or other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped
or received in violation of Title 18, United States Code, Chapter 110;

b. Any property, real or personal, constituting or traceable to gross profits or other
proceeds obtained from the offense; and

c. Any property, real or personal, used or intended to be used to commit or to promote
the commission of the offense.

The property to be forfeited includes but is not limited a BLU Android Model G9.

If any of the property described above, because of any act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

@. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

Gi has been commingled with other property which cannot be divided without
difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section

2253(b).
[SIGNATURE ON FOLLOWING PAGE]

Case 1:21-cr-00010-TRM-SKL Document1 Filed 02/23/21 Page 2of3 PagelD #: 2
A TRUE BILL:

GRAND JURY FOREPBRSON

 

J. DOUGLAS OVERBEY
United’States Attorney

James T, Brooks *
Assistant United States Attorney

By: f c \ /

Case 1:21-cr-00010-TRM-SKL Document1 Filed 02/23/21 Page3of3 PagelD #: 3
